                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


JERARDO GONZALEZ PEREZ,                     :

       Petitioner,                          :

vs.                                         : CIVIL ACTION NO. 11-0585-KD-C

UNITED STATES OF AMERICA,                   : CRIMINAL ACTION NO. 10-0032-KD

       Respondent.


                          REPORT AND RECOMMENDATION

       Petitioner, Jerardo Gonzalez Perez (“Perez”), has filed a motion to vacate, set aside

or correct his sentence pursuant to 28 U.S.C. § 2255 (Doc. 422; see also Doc. 425). This

action has been referred to the undersigned for entry of a report and recommendation

pursuant to 28 U.S.C. § 636(b)(1)(B). Following consideration of all relevant pleadings in

this case, it is recommended that Perez’ § 2255 motion be DENIED.

                                    FINDINGS OF FACT

       On February 24, 2010, Perez was charged, by indictment, with conspiracy to

possess with intent to distribute more than 50 grams of a mixture and substance

containing a detectable amount of methamphetamine, in violation of 21 U.S.C. § 846,1 and

two counts of violating 21 U.S.C. § 841(a)(1) (on July 9, 2009, involving 7.1 grams of

methamphetamine and, again, on July 23, 2009, involving 7 grams of methamphetamine).




       1
                “The amount of mixture and substance containing methamphetamine involved in
the conspiracy exceeds 50 grams; therefore, the defendants are subject to the penalty provisions of
Title 21, United States Code, Section 841(b)(1)(B).” (Doc. 1, at 2.)
(Doc. 1, at 1-2 & 5.)2

       In accordance with the defendant’s indication that he would enter a blind guilty

plea, the government filed a factual resume with the Court on June 9, 2010. (See Doc. 91,

at 1.) The factual resume reads, in relevant part, as follows:

                         Elements of the offenses

                      Count one: 21 U.S.C. § 846, conspiracy to possess
               with intent to distribute methamphetamine, a Schedule II
               controlled substance.

                      There are two elements to this offense: first, that two or
               more individuals came to a mutual understanding to commit
               an unlawful act, in this case, the possession with inten[t] to
               distribute methamphetamine as charged; and second, that the
               defendant, knowing of the unlawful purpose of the plan,
               knowingly and intentionally joined in the plan. The
               Government has alleged that more than 50 grams of
               methamphetamine were involved in the scheme.

                      Counts 11 and 12: 21 U.S.C. § 841(a)(1), possession
               with intent to distribute methamphetamine, a Schedule II
               controlled substance.

                      In order to prove this offense, the Government must
               establish two elements: that the defendant knowingly and
               intentionally possessed methamphetamine, and that he
               possessed the drug with the intention to distribute it to
               another.

                         Facts

                     In January of 2009, the Baldwin County Drug Task
               Force became involved in an investigation into
               methamphetamine distribution in the Bon Secour area of
               Baldwin County. The officers had received information from a
               confidential and reliable informant who told them that Cecil
               Dwight Rayborn II was selling methamphetamine. Sgt. Jeff
               Dunn and Officer Jesse Villa met with the informant, who had

       2
               The indictment also asserted a forfeiture count against all defendants. (Doc. 1, at 5-
6.)



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told them that Cecil Rayborn would sell to the informant. The
informant and Cecil worked at the same construction
company, and Cecil told the informant that he could get
methamphetamine for the informant from his supplier. Cecil
told the informant that he would charge $25 for getting the
drugs, and that an eight-ball would cost $350. Cecil had told
the informant that his supplier lived in Bon Secour[] and[,] on
that day, January 30, Cecil told the informant that he was
making a[] trip to get drugs.

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       Sgt. Dunn and Officer Villa met the informant at a
predetermined location where Sgt. Dunn took custody of the
drug evidence. Sgt. Dunn noticed that the amount of
methamphetamine did not appear to be the full amount to be
purchased, and formed the opinion that Cecil had removed
some of the drugs prior to delivering them to the informant.
The substance field tested positive for methamphetamine, and
was submitted to the Department of Forensic Sciences
laboratory for confirmation. The lab report confirmed that the
substance was methamphetamine, weighing 2.97 grams. The
next day, Sgt. Dunn returned to the mobile home where he
had seen [Cecil Rayborn’s] truck parked on the south side of
County Road 16 east of the intersection with County Road 19.
He made photographs of this residence and subsequently
confirmed the address as 16550 County Road 16, the residence
of Steve and Tammy Wilson.

       On February 12, 2009, Sgt. Dunn met with the same
informant, who again indicated that Cecil had offered to
supply the informant with methamphetamine. Through
further conversation with Cecil, Cecil had told the informant
that his supplier lived on County Road 16. The informant told
the officers that Cecil said he was making another trip to the
supplier’s residence there during the afternoon of February 12,
2009, and asked the informant if [he] wanted anything. The
informant consulted with Sgt. Dunn, then notified Cecil that
[he] wanted an eight-ball. Cecil told the informant to bring the
money to his job site[] on County Road 24 just west of County
Road 55.

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      Sgt. Dunn and Officer Villa established surveillance at
16550 County Road 16 and waited for Cecil to arrive. After
two hours, the informant called Cecil and Cecil said he could

                           3
not leave the job site. Cecil asked the informant to pick him up
something to eat, so the informant complied and brought the
food to Cecil at the construction site. The informant and Cecil
left the job site together and drove toward 16550 County Road
16. The deputies observed as the informant and Cecil arrived
at the trailer. Cecil entered the trailer while the informant
waited in the vehicle. After a few minutes, Cecil returned to
the informant’s vehicle and provided the informant with a
clear ziplock baggie containing methamphetamine. The
informant drove Cecil back to the construction site and
dropped him off. The deputies followed them and met the
informant at a predetermined location. The amount of
methamphetamine again looked less than it should, and Sgt.
Dunn had the informant place a phone call to Cecil to
complain about the qua[ntity] of the methamphetamine
purchased. Cecil agreed to make sure the amount was right
the next time. Meanwhile, Sgt. Dunn field tested the drugs,
and later submitted them to the Department of Forensic
Sciences for analysis. The lab report indicated that the
substance was methamphetamine weighing 2.29 grams.

       On February 25, 2009, Sgt. Dunn, Cpl. Nathan Lusk and
Officer Villa met with two reliable confidential informants
who related that they could buy methamphetamine from
Jennifer Rae Rayborn. The informants also told the officers
that they understood that Jennifer was being supplied by a
husband and wife who lived on County Road 16. The
informants said that Jennifer referred to her suppliers as
“Steve” and “Tammy.” Jennifer said she would take the
money from them for the methamphetamine, travel to County
Road 16 to her suppliers’ residence, get the drugs and bring
them back. The informants told the officers that Jennifer said
her suppliers charged her $350 per eight ball, and an
additional $25 for the delivery.

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       On or about June 19, 2009, the officers met with another
confidential and reliable informant regarding another
purchase of methamphetamine from Jennifer Rayborn. The
officers again searched the informant and the informant’s
vehicle, equipped the informant and the vehicle with
electronic devices to record and videotape the transaction, and
issued the informant prerecorded currency to make the drug
buy.

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       The informant gave Jennifer the money for the drugs,
and the officers followed her south toward County Road 16.
They followed her to the Wilson residence, where they
observed as she entered the trailer, stayed only a few minutes,
then returned to her vehicle. She left and they followed her
back to the parking lot where she met with the informant and
delivered the methamphetamine. The surveillance officers
made photographs of the meeting. They followed the
informant to a predetermined location, where Sgt. Dunn took
possession of the drug evidence and field tested it. He later
submitted the drug evidence to the Department of Forensic
Sciences, where the analysis of the drugs revealed that the
substance was methamphetamine weighing 3.32 grams.

         On July 6. 2009, Sgt. Dunn, acting in an undercover
capacity, was introduced to Jennifer through the informant in
a parking lot at a grocery store in Robertsdale, Alabama. Sgt.
Dunn was equipped with electronic devices to record and
videotape the transaction. During his meeting with Jennifer,
Sgt. Dunn provided [her] with the prerecorded cash, and
engaged her in conversation. Sgt. Dunn asked her if her
supplier had come down on the price for a larger amount of
methamphetamine, as he was attempting to purchase three
eight-balls. She said yes. She also said that her supplied had
screwed up with the main supplier. Sgt. Dunn asked Jennifer
if she could go [directly to] the main supplier and cut out her
source. She said she did not want to cut out her source.
Jennifer left with the money, $1050 in cash, and drove to the
Wilson residence, followed by Lt. Darren Williamson who was
conducting surveillance. Officer Villa had established a
position where he could observe[] the Wilson residence at
16550 County Road 16. He observed as Jennifer arrived. About
30 minutes later, she departed the Wilson residence and
contacted Sgt. Dunn to arrange the meeting location for the
delivery of the methamphetamine. . . . She approached Sgt.
Dunn’s vehicle and handed him the ziplock baggie containing
the methamphetamine. . . . Sgt. Dunn weighed the bag and
Jennifer commented that her supplier’s scales are off. Sgt.
Dunn asked what her supplier’s scales read, and Jennifer said
10.9. Sgt. Dunn asked Jennifer if her supplier could do
something larger, and she said she would ask. They had
additional conversation about future buys and Jennifer said
she would go around her suppliers if they kept cheating her. .
. . Sgt. Dunn left with the drugs and met the other officers at a
prearranged location. Officer Villa took possession of the
drugs and turned them over to TFO Andre Reid, who

                            5
submitted them to the DEA South Central Laboratory for
analysis. The lab report reflected that the substance was
methamphetamine, weighing approximately 10 grams.

        The officers applied for and received a search warrant
for the Wilson residence at 16550 County Road 16. On July 9,
2009, Sgt. Dunn established surveillance at the Wilson
residence on County Road 16. While he was watching the
trailer, he observed as Jennifer Rayborn arrived at the
residence and left shortly thereafter. Believing she had just
obtained more methamphetamine from the Wilsons, the
officers decided to execute the search warrant. . . .

       Lt. Darren Williamson advised Steve Wilson of his
Miranda rights. Wilson said he understood his rights and
agreed to cooperate with the officers. He too[k] Sgt. Dunn to
the bathroom of an RV which was parked beside the residence
and pointed out a cabinet above the toilet and one above the
vanity. Sgt. Dunn retrieved a black nylon bag containing pipes
used to smoke methamphetamine, syringes, and several small
clear baggies used to package methamphetamine. In [the]
cabinet above the vanity, Sgt. Dunn found additional small
baggies, one of which contained a small amount of
methamphetamine. Two handguns were seized from a
computer desk in the den of the residence itself. . . . Another
black nylon bag was found in the bottom left hand drawer of a
chest in the back bedroom. It contained numerous small
ziplock baggies, digital scales, a small wooden scoop, a nickel
and two ziplock baggies containing methamphetamine. These
baggies     contained     approximately     3.5    grams     of
methamphetamine each. Tammy Wilson told the officers that
she shared that bedroom with her daughter.

       Both Tammy and Steve told the officers they wanted to
cooperate. Sgt. Dunn advised Tammy of her Miranda rights,
and she too indicated that she understood her rights and that
she wanted to cooperate with the police. Tammy said she and
her husband were being supplied with methamphetamine by
two Hispanics who were husband and wife, known to her as
“Bally” and “Mari.” She provided Sgt. Dunn with their cell
phone numbers from her phone, which Sgt. Dunn
photographed.

       Steve said “Bally” had been supplying them for about
1.5 years. “Bally” was subsequently identified as Jerardo
Perez. Steve was introduced to him through a co-worker.
Steve first dealt with the co-worker’s uncle . . . The uncle

                           6
introduced Steve to Perez, who supplied him since that time.
Steve stated that he and Tammy had obtained about one to
two ounces of methamphetamine per week for[] $2,100 per
ounce since they met Perez, which he estimated had been at
least six months to a year. Steve stated that he recalled that
Perez had been arrested in Foley and possibly deported as a
result. During this time, there was a break in his drug dealings
but his wife[,] Mari, subsequently identified as Maria Jose
Lopez, began to deliver methamphetamine to them. Tammy
said that Lopez delivered one ounce of methamphetamine per
week for several months. Tammy stated that she believed
Lopez worked at an auto parts store near Foley, and provided
a phone number which she believed was the last known
working phone number for Lopez.

       Both Tammy and Steve told the officers that they
continued to purchase ounce quantities of methamphetamine
until Todd Gates was arrested near their house a few months
prior to the date the search warrant was executed. The officers
were aware that Todd Jeffrey Gates had been arrested near the
Wilson residence on February 27, 2009.

       Tammy told the officers that they began to purchase
smaller amounts after Gates’ arrest because they were afraid
to sell anything to Gates afterwards. From February 27
through July 9, the Wilsons received approximately one or
two ounces of methamphetamine every three weeks. The
Wilsons stated that they were unable to pay Perez because
they were not selling the amount of methamphetamine they
once were and they were in debt to him. The reason their
business had slacked up was because Gates was not
distributing their methamphetamine.

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      Tammy told the officers that she and Steve also
supplied Cecil Rayborn, Jennifer Rayborn, and Theresa
Watson.

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       The Wilsons told the officers that they would cooperate
in an investigation involving their suppliers, Lopez and Perez.
Tammy told them that they owed their suppliers $2,100 in
drug debts. Tammy stated that if they made a controlled buy
of drugs from Perez, he would expect her to weigh the drugs
in front of him. The next day, Sgt. Dunn returned the black

                           7
bag containing her scale so that she could use it in her
cooperation against Perez.

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       With regard to the Wilsons’ suppliers, [o]n July 12,
2009, the Wilsons received a phone call from Perez telling
them he would come to their residence the next day to collect
money on the drug debt. Perez informed them that he had an
ounce of methamphetamine and he could supply them with
some of it.

       On July 13, Steve Wilson contacted TFO Reid and told
him that Perez had called back and informed him that Perez
would come by at about 6:00 p.m. Officers Mosley and Neil
Phillips met with TFO Reid at Wilson’s residence. They issued
the informant prerecorded cash, $1,000, for the deal, along
with an electronic scale. TFO Reid established visual
surveillance of the residence and situated himself where he
could see the front door. At about 5:42 p.m., Officer Phillips
contacted T[FO] Reid to tell him that Perez had contacted
Steve by direct connect to tell him Perez was about 10 minutes
away. At approximately 6:00 p.m., TFO Reid observed a white
Ford F-350 arrive, and a Hispanic male got out of the front
passenger seat. This subject got out of the vehicle and walked
to the rear of the Wilson residence. This subject, subsequently
identified as Jerardo Gonzalez Perez, entered the residence
and began a conversation with Steve. Steve told Perez that he
had recently sold a trailer and he would use that money to pay
back the rest of the debt for the methamphetamine. Steve
counted out $1,000 in cas[h] and gave it to Perez. Perez
counted the money again and told Steve he would provide
him with seven grams. Perez also said he was supposed to
receive more methamphetamine from his supplier. Perez
retrieved a small ziplock baggie from his left front pocket
which he gave to Steve. Steve weighed the drugs on the scale,
which reflected approximately 7 grams. Perez and Steve
engaged in general conversation, and Perez left using the back
door.

       At about 6:05 p.m., TFO Reid observed as Perez got
back into the front passenger seat of the truck. TFO Mosley
and TFO Reid followed the truck. The tag displayed on the
vehicle came back to Manzano Epigmenio, 19314 County
Road 87, Lot 15. The vehicle appeared to be heading toward
that address, and TFO requested that a marked patrol unit
stop the vehicle to further the investigation.

                           8
       BCSO Deputy Andy Ashton stopped the vehicle.
Deputy Ashton identified the driver as Romero Mendez
Esteban and Jerardo Gonzalez Perez as the passenger. Esteban
did not have a driver[’]s license. Sgt. Clint Cadenhead arrived
at the scene to assist Deputy Ashton. Deputy Ashton patted
down Perez, and emptied his pockets. Sgt. Cadenhead noticed
the large amount of cash in Perez’s front pocket. Deputy
Ashton asked both subject[s] to provide their fingerprints on a
latent print card, and he made photographs of a voter’s
registration card for Esteban. He issued a verbal warning
about the window tint of the truck. During the course of the
stop, a female arrived at the scene and claimed that the truck
belonged to her husband and that Esteban and Perez just
started working for her husband’s company two days earlier.

      TFO    Reid    retrieved   the   seven    grams    of
methamphetamine Perez supplied to Steve Wilson at Wilson’s
house. He submitted it to the DEA South Central Laboratory,
where an analysis revealed that the substance was
methamphetamine, weighing 6.8 grams.

        TFO Reid subpoenaed telephone records for the phone
number provided and used by Lopez, Perez and Steve Wilson.
From April 15 through August 15, 2009, the records showed
16 cell phone calls and 202 direct connect calls between the
phones used by Steve and Perez. The records also showed a
call from the phone used by Lopez and Steve Wilson on June
9, 2009 and on July 7, 2009, the Lopez phone called the Perez
phone at 9:25 p.m. The records showed that both phones were
in the area of Mobile, Alabama, when the call was made. The
records showed that the phone used by Tammy Wilson made
contact with the phone used by Maria Lopez approximately 32
times from April 4, 2009 through July 14, 2009, and
approximately 504 direct connect call were made during the
same period between these phones.

       TFO Reid obtained this phone number for Maria Lopez
as the result of an incident involving a shooting of a subject at
her residence, believed to have been Perez. During December
of 2009, TFO Reid conducted surveillance at an auto parts
store in Foley, as an effort to identify the vehicle described by
the Wilson[s] as Lopez’s tan Lincoln Navigator. Steve Wilson
notified TFO Reid that Lopez worked at that store. TFO Reid
observed the vehicle described parked at the store. It
displayed Alabama tag 5A42K35, registered to Maria Lopez at
25213-A East Pine Street in Foley.

                            9
       During the week of January 4, 2010, TFO Reid
discovered that a shooting had been reported to the Elberta
Police Department at that address. . . . Lopez told the
[responding] officers that the male, whom she identified as
Fransisco Mendez Mandosa, arrived at the house and was
removing “a present” from his vehicle when two Hispanic
males approached him, demanding money, and hitting
Mendosa with a pistol. When Mendosa gave them $80, one of
the men fired a shot in the air. Mendosa and the two suspects
entered the residence where Lopez was. Several rounds were
fired into the walls of the residence a[nd] Lopez recalled
hearing police sirens as the officers responded to the call. The
suspects left the residence, but they shot Mendosa in the
abdominal area. He was transported by helicopter to Baptist
Hospital in Pensacola, Florida. A neighbor provided the
officers with surveillance video made by cameras at the
neighbor’s residence which depicted the subjects fleeing after
they shot Mendosa.

       Lopez told the officers that Medosa worked for
Manzeno Drywall and gave the number of 850-560-0408 as his
work number. Lopez provided the officers with her phone
number as well, 850-554-4953. This is the phone number that
had extensive contact with Tammy Wilson’s phone during the
time frame indicated in 2009. The vehicle Perez occupied
when he delivered the drugs to Wilson on July 13, 2009, was
registered in the name of Manzano Epigmenio.

       Lopez and Perez each provided a post-Miranda
statement when they were arrested on these federal charges.
Perez admitted that he sold methamphetamine to the Wilsons
and that he had obtained cocaine and methamphetamine from
a supplier in Pensacola. He confirmed that he was the one
who was shot in December of 2009 at the Pine Street house.
Lopez admitted that she was aware of Perez’s drug business.
When he was deported, she told the officers that she had
collected drug money from the Wilsons and that she made a
payment on Perez’s drug debt to his supplier in Pensacola.
She also confirmed that Perez had been shot during the
incident on Pine Street in December, and that it could have
had something to do with his drug business.

       The Government submits that the defendant is
accountable for 402.5 grams of methamphetamine mixture as
relevant conduct, and that the Government can prove that
amount beyond a reasonable doubt.

                           10
(Id. at 1-2, 3-5, 7, 8-10, 10, 10-12, 12, 13 & 17-21.)

       On June 23, 2010, Perez entered a counseled blind guilty plea to all substantive

counts of the Indictment in which he was charged. (Doc. 172, Guilty Plea Transcript, at

2.)3

               THE COURT:              . . . Mr. Gonzalez, what is your full name?

               THE DEFENDANT:                 Jerardo Perez Gonzalez.

               THE COURT:              And how old are you?

               THE DEFENDANT:                 27.

               THE COURT:              How far did you go in school?

               THE DEFENDANT:                 Middle school in Mexico.

              THE COURT:           All right. And have you been treated
       recently for any mental illness or an addiction to any sort of drug?

               THE DEFENDANT:                 No.

             THE COURT:           Are you currently under the influence of
       any drug, medication, or alcoholic beverage?

                THE DEFENDANT:                No.

              THE COURT:          Have you received a copy                 of   the
       indictment, the written charges pending against you?

               THE DEFENDANT:                 Yes.

             THE COURT: And have you fully discussed those charges
       and the case in general with Mr. Stankoski?

               THE DEFENDANT:                 Yes.



       3
               Prior to the start of the colloquy, the interpreter informed United States District
Judge Callie V. S. Granade that “the correct form of address would be Gonzalez, not Perez.” (Id.)



                                              11
      THE COURT:           Do you understand the charges pending
against you?

      THE DEFENDANT:              Yes.


        THE COURT:           Now, I understand that this is a blind
plea; is that correct? There’s no plea agreement?

      MR. STANKOSKI: That’s correct, Judge.

       THE COURT:         All right. Has anyone made any promises
or assurances to you of any kind in an effort to induce you to plead
guilty in this case?

      THE DEFENDANT:              No.

       THE COURT:          Has anyone attempted in any way to
force you to plead guilty?

      THE DEFENDANT:              No.

       THE COURT:          Are you pleading guilty of your own free
will because you are guilty?

      THE DEFENDANT:              Yes.

        THE COURT:          Do you understand that the offenses to
which you are pleading guilty are felony offenses and that if your
plea is accepted, you will be adjudged guilty of those offenses and
that such adjudication may deprive you of valuable civil rights, if
you have them, such as the right to vote, the right to hold public
office, the right to serve on a jury, the right to possess any kind of
firearm, and it would also entail deportation in your case. Do you
understand those possible consequences?

      THE DEFENDANT:              Yes.

      THE COURT:          All right. The maximum penalty the
Court could impose upon conviction of counts one, 11, and 12 is . . . a
minimum of five [years], up to 40 years imprisonment, a fine of up to
$2 million, a term of supervised release of up to four years which
would follow any term of imprisonment, and a $100 special
assessment.

      As to count 13, the forfeiture count, will the government be
pursuing forfeiture in Mr. Gonzalez’ case?

                                  12
       MS. BEDWELL:        We’ve not identified any property at this
time, Your Honor, that is attributable to the defendant, although we
might do that by the time of the sentencing. So we’d ask the Court to
advise the defendant that forfeiture is a penalty.

       THE COURT:       Possibility? Well, under the forfeiture
count, if the government identifies any property that constitutes
proceeds or was used, instrumental, in your committing these
offenses, then you would also be subject to forfeiture of that
property. Do you understand those possible consequences of your
guilty plea?

       THE DEFENDANT:                Yes.

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       MS. BEDWELL:         Your Honor, I think the penalty as to the
substantive offenses is different. . . . Yes, . . . I believe as to counts 11
and 12 the penalty is up to 20 years imprisonment, a fine not to
exceed a million dollars, and a supervised release term of up to four
years, with the mandatory special assessment as to each of those
counts.

      THE COURT:          All right. So 11 and 12 have a lesser
potential sentence than count one. Do you understand what Ms.
Bedwell just stated, Mr. Gonzalez? In other words, count one has a
potential sentence of a minimum of five years up to 40 years
imprisonment, a $2 million fine, a term of supervised release of four
years which would follow any term of imprisonment, and a special
assessment of $100.

       Counts 11 and 12 have a potential sentence of up to 20 years
imprisonment, a $1 million fine, a term of supervised release of three
years, and a hundred dollars special assessment for each of those
counts. And on both of those or all three of those counts the terms of
supervised release, if you violated the conditions of supervised
release, you could be in prison for the entire term of supervised
release as well. Do you understand those possible consequences of
your guilty plea?

       THE DEFENDANT:                Yes (nodding head affirmatively).

       THE COURT:             Any question about that in your mind?

      MR. STANKOSKI: Judge, we’ve gone over those, and I was
discussing the difference in the penalty versus the guidelines and

                                     13
I’ve advised him how they play together. And he understood when
we went over it at the jail.

      THE COURT:          Is that correct, Mr. Gonzalez?

      THE DEFENDANT:             Yes.

      THE COURT:           The United States Sentencing Commission
has issued guidelines for judges to consider in determining the
sentence in a criminal case. And Mr. Stankoski stated that you have
been over those guidelines, and is that correct? You have talked
about how the sentencing guidelines might apply to your case?

      THE DEFENDANT:             Yes.

       THE COURT:           Do you understand that I will not be able
to determine the sentencing guideline range for your case until after
a presentence report has been completed by the probation office and
you and the government have had the opportunity to challenge the
reported facts and the application of the guidelines recommended by
the probation office, and that the guideline range that I determine
applies may be different from any estimate Mr. Stankoski or anybody
else might have given you in this case? Do you understand?

      THE DEFENDANT:             Yes.

       THE COURT:           Do you also understand that after your
guideline range has been determined, the guidelines themselves
further provide for departures either upwards or downwards from
that range in certain circumstances?

      THE DEFENDANT:             Yes.

      THE COURT:           And do you understand that, although I
am required to consider the sentencing guidelines, they are advisory
and do not necessarily control the sentence that is imposed?

      THE DEFENDANT:             Yes.

      THE COURT:           Do you understand that under some
circumstances you or the government may have the right to appeal
any sentence that I impose?

      THE DEFENDANT:             Yes.

       THE COURT:          Do you understand that you have a right
to plead not guilty to any offense charged against you and to persist

                                 14
in that plea and that you would then have the right to a trial by jury,
at that trial you would be presumed to be innocent and the
government would have to prove your guilt beyond a reasonable
doubt, you would have the right to the assistance of counsel for your
defense, the right to see and hear all of the witnesses and have them
cross-examined in your defense, the right on your own part to
decline to testify unless you voluntarily elected to do so in your own
defense, and the right to the issuance of subpoenas to compel the
attendance of witnesses to testify in your defense? Do you
understand that?

       THE DEFENDANT:               Yes.

        THE COURT:           And do you also understand that if you
went to trial and decided not to testify or to put on any evidence at
all, those facts could not be used against you?

       THE DEFENDANT:               Yes.

        THE COURT:           And do you further understand that by
entering a plea of guilty, if that plea is accepted by the Court, there
will be no trial and you will have waived or given up your right to a
trial as well as those other rights associated with a trial that I’ve just
described?

       THE DEFENDANT:               Yes.

        THE COURT:          All right. Now you’re pleading guilty in
counts 11 and 12 to substantive offenses of possession of
methamphetamine with intent to distribute it. And in order to
convict you of those two counts, the United States would have to
prove that you knowingly and willfully on or about the date alleged
in the particular count did possess methamphetamine with the intent
to distribute it. Do you understand what the government would have
to prove as to those two counts?

       THE DEFENDANT:               Yes.

       THE COURT:           Any question about that?

       THE DEFENDANT:               No.

       THE COURT:         And as to count one, the conspiracy
count, the United States would have to prove that on or about the
dates alleged in the indictment you did come to a mutual
understanding with at least one other person to unlawfully possess
with intent to distribute methamphetamine, and the government

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alleges that the amount possessed was in excess of 50 grams. Do you
understand what the government would have to prove in order to
convict you of that offense?

       THE DEFENDANT:              Yes.

       THE COURT:           All right. Now, the government has
provided a copy of a factual resume to the Court which is about 21
pages long. I have read it. But I don’t know whether you have read it
and whether you agree that the government could prove the facts set
forth in that document in order to support your guilty plea. But in
order for me to accept your guilty plea, I need to know that there is a
factual basis for the plea and that you agreed that the government
could prove the facts that would support your guilty plea. Mr.
Stankoski, have you been over this factual resume?

       MR. STANKOSKI: Yes, ma’am. As it relates to the
substantive counts, he would agree that the amounts and the dates
he was in possession with the intent to distribute. As it relates to the
conspiracy count, we would agree that the government could prove
beyond a reasonable doubt that he came to an agreement with others
to possess with the intent to distribute the methamphetamine. At this
point we don’t agree to the drug amount. But we agree to the rest of
the factual resume. We hope to, if we enter into a cooperation
agreement, we hope to have a signed factual resume. But at this point
we’re not there yet. But he agrees that they can prove the conspiracy
aspect of it beyond a reasonable doubt.

       THE COURT:         . . . [Y]ou say you can’t agree as to an
actual amount. But can you agree that it’s in excess of 50 grams?

       MR. STANKOSKI: Yes, ma’am.

       THE COURT:           Is that correct, Mr. Gonzalez?

      THE DEFENDANT:               All that, no. But – I did cooperate,
but not in – by way of selling. But I do plead guilty to conspiracy.

        THE COURT:         And to possessing the substantive
amounts in counts 11 and 12, as well, with intent to distribute it? . . .
I’m talking about the two occasions . . . [o]n count 11 it says on July
9th, 2009, you possessed approximately 7.1 grams of meth with intent
to distribute it and on July 13 you possessed approximately seven
grams of methamphetamine with intent to distribute it. Do you agree
that the government could prove those two offenses as well as the
conspiracy?


                                   16
               THE DEFENDANT:                  Yes.

             THE COURT:             I’ll now ask you how do you plead to the
       charge[s], guilty or not guilty?

               THE DEFENDANT:                  Concerning firearms, I never bore
       any.

             THE COURT:           I’m sorry.             I   didn’t   understand   the
       response. The speakers are fuzzy.

             THE INTERPRETER:          Excuse me, Your Honor. The
       defendant’s response was: Concerning bearing a firearm, I never did.

              THE COURT:            All right. Well, that’s not what I’m asking
       you at this point. I’m asking you whether or not you’re pleading
       guilty or not guilty to the count one, count 11, and count 12.

               THE DEFENDANT:                  Yes.

              THE COURT:           All right. Now, the firearm issue will
       come in for my consideration at the time of sentencing, and so that’s
       not for me to consider at this point. You understand that?

               THE DEFENDANT:                  Okay.

             THE COURT:            So you are pleading guilty to counts one,
       count 11, and count 12; is that correct?

               THE DEFENDANT:                  Guilty.

              THE COURT:          All right. It is the finding of the Court in
       the case of United States versus Jerardo Gonzalez Perez that the
       defendant is fully competent and capable of entering an informed
       plea, that he is aware of the nature of the charges and the
       consequences of the plea, and that the plea of guilty is a knowing and
       voluntary plea supported by an independent basis in fact containing
       each of the essential elements of the offense. The plea is therefore
       accepted and the defendant is now adjudged guilty of those offenses.

(Id. at 3-5, 5, 5-6, 6, 6-11, 11, 11-12, 12 & 12-13.)

       The draft Presentence Investigation Report was prepared by the Probation Office

on August 27, 20010 and provided to the parties. (See Doc. 234, at 1.) This sealed report



                                              17
was filed with the Court on August 30, 2010. (See id.)4 Perez’ appointed attorney, J. Clark

Stankoski, Esquire (see Doc. 108) filed objections to the presentence report on October 1,

2010 (Doc. 238).

               1.      At ¶ 78 Specific Offense Characteristic, the Defendant is given
        a two (2) level enhancement for the possession of a firearm by co-
        defendants Steven and Tammy Wilson. The Defendant objects to this
        enhancement as he was unaware that the Wilson[]s[‘] possessed a
        firearm(s), and it was unforeseeable for them to be armed. Additionally, the
        Defendant denies and objects to any reference to the Wilsons working
        directly for him.

               2.      At ¶ 80, Adjustment for Role in the Offense, the Defendant
        objects to a four (4) level enhancement for being the organizer or leader in
        this conspiracy. The Defendant was merely the supplier and did not
        manage or organize anything. The Defendant cannot speak English, and the
        Wilsons do not speak Spanish, so there was no communication between the
        parties other than price and weight; therefore he took on no other duties
        other than supplier.

(Id. at 1.)5



        4
                With respect to base offense level, the report provides, as follows: “The guideline
for offenses charged under 21 U.S.C. §§ 846 and 841(a)(1) is found at U.S.S.G. § 2D1.1, which
provides that the base offense level is determined by the quantity of the controlled substance
involved. Pursuant to the Relevant Conduct Standard, U.S.S.G. § 1B1.3, the defendant is to be
held accountable for (1)(A) all acts and omissions committed, aided, abetted, counseled,
commanded, induced, procured, or willfully caused by the defendant; (1)(B) all reasonably
foreseeable acts and omissions of others in furtherance of the jointly undertaken criminal activity;
and (2) solely with respect to offenses of a character for which § 3D1.2(d) would require grouping
of multiple counts, all acts and omissions described in subdivisions (1)(A) and (1)(B) that were
part of the same course of conduct or common scheme or plan as the offense of conviction, are
included in the calculations for the base offense level. In this case, the defendant is accountable for
402.5 grams of methamphetamine (mixture). Pursuant to U.S.S.G. § 2D1.1(c)(5), offenses involving
at least 350 grams, but less than 500 grams of methamphetamine have a base offense level of 30.”
(Doc. 234, at 22.) The report reflects a two-level increase, pursuant to U.S.S.G. § 2D1.1(b)(1),
“since dangerous weapons were possessed by codefendants Steven and Tammy Wilson, who
worked directly” for the defendant and a four-level increase, pursuant to U.S.S.G. § 3B1.1(a), since
Perez, as the Wilsons’ supplier, “was an organizer or leader of a criminal activity that involved
five or more participants[.]” (Doc. 234, at 22 & 23.) Thus, Perez’ adjusted offense level was
reflected as 36 (id. at 23), which was adjusted downward to a 33 due to his acceptance of
responsibility and his timely notice to authorities of his intent to enter a guilty plea (id. at 23).



                                              18
           A sentencing hearing was conducted on October 15, 2010, during which the

following occurred:

               THE COURT:            [] The probation office has determined that the
       base offense level is a level of 30. It [contains] an adjustment for a gun and
       an adjustment for a organizer/leader role. With acceptance it brings it to a
       total offense level of 33. Zero history points for 135 to 168.

              There are two objections the first objection is as to a firearm, where
       he received a two level upward adjustment. Would you like to make any
       argument other than what you have already made.

               MR. STANKOSKI: No, ma’am.

               THE COURT:            You are looking over.

               MR. STANKOSKI: I was under the impression that they were going
       to call some witnesses.

               THE COURT:            As to the firearm.

                                     .      .       .

            MS. BEDWELL:       We are prepared to proceed with the Wilsons,
       who were some of the co-defendants. I spoke to Mr. Stankoski about that



       5
               In an addendum to the presentence report, filed under seal on October 8, 2010, the
probation officer responded to the defendant’s objections. (Doc. 248.)

       Regarding the firearm conduct, once the evidence has established that a
       firearm was present, it is the defendant’s burden to prove that there was no
       nexus between him and the codefendant’s possession of said firearm, to
       include a lack of reasonable foreseeability by him. Regarding the leadership
       role, the defendant’s wife continued the drug distribution business after the
       defendant’s arrest, and Perez appeared to have supervisory authority over
       her activities. The government indicates that it is prepared to put on
       evidence in support of these enhancements, for the Court’s consideration.
       These issues are left to the discretion of the Court, and therefore, the
       presentence report remains unchanged for now.

(Id. at 1.) That same date, the probation officer’s sentencing recommendation was filed with the
Court and recommended a low-end sentence of 135 months (the guideline provisions specifically
providing for a sentencing range of 135 to 168 months). (Doc. 249, at 1.)



                                            19
       yesterday. So that he would be aware that that is what we intend to do.
       Should be very brief testimony.

             THE COURT:             This    should     go    to   your     position    as
       organizer/leader.

(Doc. 312, at 2 & 3.) With respect to these two issues, the Assistant United States Attorney

presented the testimony of Tammy and Steve Wilson. (See id. at 3-27.) Tammy Wilson

testified that she had known Perez for a couple of years and that during that time he

supplied her husband and her anywhere from one to fourteen (14) grams of

methamphetamine on each trip he made to their house to deliver the drug. (Id. at 4-5.)6

According to this witness, Perez also supplied drugs to others (see id. at 7 (“He had

somebody in Pensacola, Florida.”)) and, at times, sent others in his stead to deliver drugs

to the Wilsons or pick up money from them (id.; see also id. at 8 (a Mexican guy in an SUV

and “[t]he lady he call his wife.”)). “[Maria Lopez] came quite a bit [to deliver drugs or

pick up money] when [Perez] was deported until he got back.” (Id. at 8.) Tammy Wilson

also testified that the two guns seized from her home on July 9, 2009, were kept by her

husband on the top of his desk, in full view, and that she specifically remembers her

husband showing Perez the one gun he had purchased. (See id. at 11, 14-15 & 18.)7 Steve

Wilson testified that Perez supplied him with methamphetamine and, further, that the

guns seized by police on July 9, 2009, were seized from that place they were normally



       6
                 Perez, in turn, got the drugs he supplied the Wilsons from two different sources
over the course of these two years, one source being located in Arizona and the other in Atlanta.
(See id. at 5 & 6.)
       7
                Perez’ attorney cross-examined Tammy Wilson at length (see id. at 15-22) and
garnered her admission that she and her husband just purchased drugs from the defendant; Perez
did not direct them regarding how to sell or package the methamphetamine (id. at 21).



                                           20
kept on top of his desk. (Id. at 24-25.)8 This witness, however, could not recall whether

Perez saw either of these guns. (Id. at 25)

       Following the Wilsons’ testimony, the court turned first to the firearm issue. (See

id. at 28-31.)

              THE COURT:           All right. Under U.S. versus Surez (phonetic)
       which is a[n] 11th Circuit case from 2002[,] 313 F 3rd 1287, the government
       must prove by a preponderance of the evidence that the possessor of the
       firearm was a coconspirator. They have done that.

               That the possession was in furtherance of the conspiracy. That the
       defendant was a member of the conspiracy at the time of the possession.
       The defendant has plead[ed] guilty to that element. The coconspirator
       possession was reasonably foreseeable by the defendant. I believe the
       government has shown that. Based on the testimony of Mr. and Mrs. Wilson
       that it was there and obvious when he was in the room.

             The issue that obviously just stuck its head up was that the
       possession was in furtherance of the conspiracy. I would hear from Ms.
       Bedwell on any legal argument you make about that.

(Id. at 28-29.) Following the arguments of counsel on the firearms issue (id. at 29-31), the

Court then extended counsel the opportunity to make arguments regarding the

organizer/leader role issue (id. at 31 (“I will tell you the factors that I am considering.

And th[ose] are the exercise of decision making authority, the nature of the participation

in the commission of the offense, the recruitment of accomplices, the claimed right to a

larger share of the fruits of the crime, the degree of participation in planning or

organizing the offense and the nature and scope of the illegal activity and the degree of

control and authority [] exercised over others. Those are the factors to be considered in

determining if he should get an aggravating role or a mitigation role or if he is just an

       8
               Wilson testified he had the weapons not for personal protection (id. at 27) but,
instead, simply to address the problems he and his family were experiencing with “coyotes” (id.
at 26-27).



                                          21
average participant.”)), and upon hearing such arguments (id. at 31-36), the district judge

entered her rulings with respect to both enhancement issues (see id. at 36-37).

              THE COURT:           Okay. As to the firearm, the Court finds that the
       relatively low standard that is required when the codefendant possesses a
       firearm is met in this case, based on the fact that the firearms were present
       during – apparently during the drug transactions that would occur [] – in
       the trailer. Whereas Mr. Wilson said the purpose was to sho[o]t coyotes. It
       may not have been his intent to ever use them for himself. They were out
       and visible during the drug transactions, which is I think exactly what the
       Congress and the guidelines are directed toward, and that it heightens the
       dangerousness level when guns are present out and open during a drug
       transaction. And because of the codefendant’s liability under the case law
       the defendant is charged with that adjustment.

               As far as the organizer/leader[/]manager[/]supervisor, trying to
       sort out this conspiracy, it’s often difficult because we have various players.
       You know, the drugs come in from somewhere. They are sold. This supplier
       sells them to this supplier and finally they reach the street to users. But
       trying to distinguish between the different players is often very hard. I do
       not find that he was the kingpin or the ultimate leader/organizer in this.
       Obviously he was getting it from someone else and then supplying the
       amount. But the large amounts that he was supplying though and on a
       weekly basis, I believe qualifies him for a manager supervisor role because
       he was managing and supervising at least his wife and perhaps one other
       person who was sent as a courier one occasion. And because of that I find
       that a three level aggravating role is called for. I think that would change it
       then to a total offense level of 32 for a guideline range of 121 to 151.

              Any other objections?

              MR. STANKOSKI: Nothing further.

            THE COURT:           Okay. Do you have any witnesses or anything
       you would like to say on your client’s behalf? . . .

              MR. STANKOSKI: No, ma’am, not unless he wants to address you.

             THE COURT:         Mr. Perez, would you like to say anything? You
       are not required to but before I impose sentence would you like to say
       anything?

              INTERPRETER:         Yes.

                                   .      .      .


                                          22
       First of all I would like to ask the forgiveness of everyone in this
Court, of the United States and the people. I am extremely repentant of this
mistake that I have made. But would also like everyone to know that I’m
not guilty of everything that the people are saying about me. I came in here
since the year 1999. I always worked very hard to be able to help my family
out. I have never been involved with drug dealing. And I have never been
close to people who were dedicated to the sell of drugs or consumers.

                            .       .      .

       What I would like to request . . . [is] that you please not be to[o]
harsh on me. Give me an opportunity. I know that in your eyes I am a bad
man. But I am really not a bad person. I did allow myself to be governed by
my addiction. And I would simply request that you not be too harsh on me.
Give me some opportunity to be able to help my children out. If I am
deported I promise that I will not return. And that is really all and please I
ask for your forgiveness. And I would like you all to consider that what is
being said of me is not true. I don’t belong to any organization nor do I
manage quantities of drugs.

       And that’s all. Thank you.

                            .       .      .

       THE COURT:           All right. Ms. Bedwell?

        MS. BEDWELL:          Your Honor, we submit that a sentence within
the guideline range is one that is appropriate under the facts and
circumstances of this case in light of the sentencing factors that the Court
has to consider the government submits that the nature and seriousness of
this offense is one that calls for a sentence within the guideline range in this
case. And the Court is very aware of the horrible consequences of
methamphetamine distribution and abuse in this community. This crime is
one that calls for serious punishment on those that distribute the drugs and
particularly a person of the defendant’s background and characteristics. He
has been in the country illegally, been deported, returned to continue
ongoing illegal activity. Under all of these circumstances we submit that
would be a reasonable sentence.

       MR. STANKOSKI: Judge, the only thing I wanted to point out was
during his allocution when he is saying he wasn’t guilty of doing some of
these things, what I think he is referring to, and some of it gets lost in
translation, is the fact that if a codefendant has a gun that he is also going to
be culpable for the gun and the same for the organizer leader. He has never
wavered and denied he did this and he was guilty of it.



                                    23
       THE COURT:          All right. Well, first of all the seriousness of the
offense is this was and extensive drug bringing lots of methamphetamine
into the State of Alabama. One of the issues that I am to weigh is the
likelihood of recidivism. And one thing that stand[s] out to me is that he
was arrested in December and deported. He was back within at least a
couple of months, and participating in the same activity. But, again, that
would show a high level of recidivism likelihood.

      Also I weigh that against the fact that he has no convictions that gave
him any criminal history points.

        But considering the evidence that I have heard about this conspiracy
and the extensiveness of this conspiracy and his ability to get large
quantities, I do believe that guideline sentence is an appropriate sentence.
But I’[ll] sentence at the bottom of the guideline range because of his lack of
criminal history thus far. If you will stand I will read your sentence.

       Pursuant to the sentencing reform act it’s the judgment of the Court
that the defendant Jerardo Gonzalez Perez is hereby committed to the
custody of the United States Bureau of Prisons to be imprisoned for a term
of 121 months as to each count one, 11, [and] 12. Said term to be served
concurrently in an institution where the Residential Comprehensive
Substance Abuse Treatment Program is available.

       For purposes of that I want to put on the record that although he was
given a tw[o] level adjustment for the gun, it was based not on his
possession of a gun but on the coconspirator liability theory. And that had
the Court had to make a determination there would not be a determination
that he possessed a gun. I don’t know if that w[i]ll assist him but that is the
Court’s finding.

       Upon release [from] imprisonment the defendant shall be placed [on]
supervised release for a term of 4-years as to Count 1, 3 years on Counts
eleven and 12 and all terms to run concurrent.

        Immediately after incarceration and as a special condition of
supervised release the defendant is to be delivered to a duly authorized
immigration official for deportation consideration. If deported you are to
remain outside the United States. If you are not deported you are to report
to the probation office in the district to which you are released. While on
supervised release you shall not commit federal, state or local crimes and
you are prohibited from possessing a firearm or other dangerous device and
shall not possess a controlled substance. In addition you shall comply with
the standard condition[s] of supervised release.

       When you are released if you are not deported you are going to
participate in drug treatment and testing as directed by the probation office.

                                  24
               The Court finds that you do not have the ability to pay a fine, so a
       fine is not imposed.

             I find the advisory guideline range is appropriate for the reasons
       already stated.

             It is order[ed] that you pay a special assessment in the amount of a
       hundred dollars as to Count One, 11 and 12 for a total of $300, which is []
       due immediately.

               I will hear your objection[s]?

             MR. STANKOSKI: I have no further objections, other than the ones I
       have already raised.

                                     .       .      .

              THE COURT:             Remanded to the custody of the marshals. Count
       13 to be dismissed?

               MS. BEDWELL:          So moved.

               THE COURT:            Dismissed.

(Id. at 36-38, 38, 38-39, 39, 39-40, 40-44 & 44.)

       Perez filed written notice of appeal on October 26, 2010 (Doc. 281) and final

judgment was entered by this Court on November 1, 2010, committing Perez to the

custody of the United States Bureau of Prisons for a term of 121 months as to Counts 1,

11, and 12, said terms to run concurrently (Doc. 286, at 2).

       On November 29, 2011, the Eleventh Circuit issued an unpublished opinion

affirming Perez’ sentences. (Doc. 408.)9

              On June 23, 2010, Jerardo Gonzales Perez pled guilty to three counts
       of a twelve-count indictment: Count One, conspiracy to possess with intent
       to distribute methamphetamine, in violation of 21 U.S.C. § 846, and Counts
       Eleven and Twelve, possession of methamphetamine with intent to

       9
               The judgment was issued as mandate on February 1, 2012. (Doc. 413.)



                                             25
distribute on two separate days, in violation of 21 U.S.C. § 841(a)(1). On
November 1, 2010, the district court sentenced Perez to concurrent prison
terms of 121 months. He now appeals his sentences.

       Perez argues that the district court, in determining his total offense
level under the Sentencing Guideline applicable to his offenses, U.S.S.G. §
2D1.1, erred in enhancing the base level pursuant to U.S.S.G. § 2D1.1(b)(1),
for possession of a firearm by his codefendants, and U.S.S.G. § 3B1.1(a), for
his role as a manager or supervisor in the offense. He therefore asks that we
vacate his sentences and remand for resentencing pursuant to a Guidelines
sentence range determined without reference to these enhancements. We
find no error and accordingly affirm.

       Perez argues that the § 2D1.1(b)(1) enhancement was inappropriate
because his purported possession of a firearm via his codefendants was
neither reasonably foreseeable nor in furtherance of the conspiracy. Section
2D1.1(b)(1) provides that, if a defendant possessed a dangerous weapon—
two handguns in this case—during a drug-trafficking offense, his offense
level should be increased by two levels. This enhancement is applied when
such weapon is possessed by a co-conspirator if the Government proves by
a preponderance of the evidence that: (1) the possessor of the weapon was a
co-conspirator; (2) the possession was in furtherance of the conspiracy; (3)
the defendant was a member of the conspiracy at the time of possession;
and (4) the co-conspirator’s possession was reasonably foreseeable by the
defendant. United States v. Gallo, 195 F.3d 1278, 1284 (11th Cir. 1999). The
commentary to § 2D1.1(b)(1) states that the enhancement should be applied
if the weapon was present, unless it is clearly improbable that it was
connected to the offense. U.S.S.G. § 2D1.1(b)(1), comment. (n.3).

       To prove that possession was in furtherance of the conspiracy, the
Government need only show by a preponderance of the evidence that the
weapon was present at the site of the charged offense, unless it was clearly
improbable that it was connected with the offense. United States v. Fields, 408
F.3d 1356, 1359 (11th Cir. 2005). Once the Government shows that a weapon
was present, the burden shifts to the defendant to show that a connection
between the weapon and the offense is clearly improbable. Id.

        With regard to the reasonable foreseeability prong of Gallo, we have
recognized that handguns are a tool of the drug trade, and that there is a
frequent and overpowering connection between their use and narcotics
trafficking. Pham, 463 F.3d at 1246. To this end, we have found it reasonably
foreseeable that a co-conspirator would possess a firearm where the
conspiracy involved trafficking in lucrative and illegal drugs. Fields, 408
F.3d at 1359. We have also upheld application of the § 2D1.1(b)(1)
enhancement even where the defendant claims he was unaware of the
firearm possession. United States v. Pham, 463 F.3d 1239, 1246 (11th Cir.
2006).

                                  26
              In this case, the Government proved that the handguns were
        connected to the charged offenses and that their use by a co-conspirator was
        reasonably foreseeable. Id. And Perez failed to show that a connection
        between the handguns and the offense was clearly improbable. The §
        2D1.1(b)(1) enhancement was therefore appropriate.

               Perez argues that the § 3B1.1(b) enhancement was inappropriate
        because the evidence was insufficient to prove that he managed or
        supervised another person in connection with the occurrence of the offenses
        for which he pled guilty. Section 3B1.1(b) instructs the district courts to
        increase a defendant’s offense level by three levels if the defendant was a
        manager or supervisor (but not an organizer or leader) of the offense, and
        the criminal activity involved five or more participants or was otherwise
        extensive. The Government bears the burden of proving by a
        preponderance of the evidence that the defendant played such a role in the
        offense. United States v. Glinton, 154 F.3d 1245, 1260 (11th Cir. 1998). In
        determining the defendant’s role in the offense, the district court should
        consider the following factors:

                [T]he exercise of decision making authority, the nature of
                participation in the commission of the offense, the recruitment
                of accomplices, the claimed right to a larger share of the fruits
                of the crime, the degree of participation in planning or
                organizing the offense, the nature and scope of the illegal
                activity, and the degree of control and authority exercised
                over others.

        U.S.S.G. § 3B1.1, comment. (n.4). There is no requirement that all the
        considerations must exist in any one case. United States v. Ramirez, 426 F.3d
        1344, 1356 (11th Cir. 2005). The defendant need only manage or supervise
        one other participant for the enhancement to apply. U.S.S.G. § 3B1.1,
        comment. (n.2). The Government is not required to prove that the defendant
        controlled another participant. United States v. Matthews, 168 F.3d 1234, 1250
        (11th Cir. 1999).

               Given the uncontested factual statements in the presentence
        investigation report and the testimony presented at Perez’s sentencing
        hearing concerning Perez’s direction of his courier, Maria Lopez, we
        conclude that the Government satisfied its burden of proof and that the
        court could reasonably find that Perez occupied a managerial role in the
        offense. Accordingly, no error occurred in the court’s application of U.S.S.G.
        § 3B1.1(b).

                AFFIRMED.

(Id. at 1-5.)

                                            27
       Perez filed the instant motion to vacate, pursuant to 28 U.S.C. § 2255, on August

29, 2012. (Doc. 422, at 14 (date placed in the prison mailing system).) Therein, petitioner

raised the following claims of alleged ineffective assistance of counsel: (1) counsel failed

to object to and file a motion to dismiss the indictment for failure to state an offense

and/or to the constitutional validity of the indictment; (2) counsel failed to object to the

inconsistencies in the Wilsons’ testimony with regard to his knowledge of the guns found

in the Wilsons’ home; and (3) counsel failed to object to the Court’s three-level-

enhancement applied to petitioner as a manager/supervisor.

       The United States filed its response in opposition on October 1, 2012 and therein

contends that petitioner’s claims of ineffective assistance of trial counsel “are due to be

denied as factually false, improperly pled, precluded by the law of the case doctrine, or

lacking in prejudice.” (Doc. 424, at 1; see also id. at 2-28.)10

     In addition to replying to the government’s response on October 22, 2012 (Doc. 425,

at 9-15), petitioner also raised two additional claims of ineffective assistance of counsel,

namely that counsel: (1) failed to object to the Court’s violation of Rule 11(c)-(f) during his

guilty plea proceeding; and (2) failed to object to the constructive amendment of the

indictment (see id. at 1-9).

                                   CONCLUSIONS OF LAW

       Section 2255 reads, in relevant part, as follows: “A prisoner in custody under

sentence of a court established by Act of Congress claiming the right to be released upon

       10
               As noted by the government in its reply, petitioner appears to have raised an
additional claim of ineffective assistance of counsel in his affidavit attached to his § 2255 motion,
namely that counsel failed to raise at his sentencing hearing information that the Wilsons were
being supplied narcotics, not only by him but, as well, by another individual named “Odelle.”
(See Doc. 422, Affidavit of Jerardo Gonzalez Perez, at ¶¶4-8.)



                                             28
the ground that the sentence was imposed in violation of the Constitution or laws of the

United States, or that the court was without jurisdiction to impose such sentence, or that

the sentence was in excess of the maximum authorized by law, or is otherwise subject to

collateral attack, may move the court which imposed the sentence to vacate, set aside or

correct the sentence.” 28 U.S.C. § 2255(a).

       In this instance, Perez contends that constitutionally ineffective assistance of

counsel entitles him to the relief afforded by 28 U.S.C. § 2255.11 In order to establish a

claim of ineffective assistance of counsel, a petitioner is required to show (1) that his

attorney’s representation fell below “an objective standard of reasonableness” and (2) that

a reasonable probability exists that but for counsel’s unprofessional conduct, the result of

the proceeding would have been different. Strickland v. Washington, 466 U.S. 668, 104

S.Ct. 2052, 80 L.Ed.2d 674 (1984). “The petitioner bears the burden of proof on the

‘performance’ prong as well as the ‘prejudice’ prong of a Strickland claim, and both

prongs must be proved to prevail.” Johnson v. Alabama, 256 F.3d 1156, 1176 (11th Cir.

2001), cert. denied sub nom. Johnson v. Nagle, 535 U.S. 926, 122 S.Ct. 1295, 152 L.Ed.2d 208

(2002).12 The Strickland v. Washington standard for evaluating claims of ineffective


       11
               Once a criminal defendant enters a guilty plea, he waives all non-jurisdictional
challenges to the conviction’s constitutionality and only an attack on the voluntary and knowing
nature of the plea can be raised. See McMann v. Richardson, 397 U.S. 759, 772, 90 S.Ct. 1441, 1449,
25 L.Ed.2d 763 (1970). Stated differently, “a voluntary and intelligent plea made by an accused
person, who has been advised by competent counsel, may not be collaterally attacked.” Mabry v.
Johnson, 467 U.S. 504, 508, 104 S.Ct. 2543, 2546-2547, 81 L.Ed.2d 437 (1984) (emphasis supplied).
Therefore, when a § 2255 motion is filed collaterally challenging convictions obtained pursuant to
guilty pleas, “the inquiry is ordinarily confined to whether the underlying plea was both
counseled and voluntary.” United States v. Broce, 488 U.S. 563, 569, 109 S.Ct. 757, 762, 102 L.Ed.2d
927 (1989).

       12
              It is proper in considering claims made by a federal prisoner under § 2255 to look
for guidance from cases discussing claims raised by state prisoners under 28 U.S.C. § 2254. See
(Continued)

                                            29
assistance of counsel was held applicable to guilty pleas in Hill v. Lockhart, 474 U.S. 52, 58,

106 S.Ct. 366, 370, 88 L.Ed.2d 203 (1985).

       To succeed on such a claim, “the defendant must show that counsel’s
       performance was deficient. This requires showing that counsel made errors
       so serious that counsel was not functioning as the ‘counsel’ guaranteed the
       defendant by the Sixth Amendment.” Strickland v. Washington, 466 U.S. 668,
       687, 104 S.Ct. 2052, 2064, 80 L.Ed.2d 674 (1984).13 In addition, the defendant
       must establish that “counsel’s constitutionally ineffective performance
       affected the outcome of the plea process.” Hill, 474 U.S. at 59, 106 S.Ct. at
       370. In other words, . . . [a petitioner] “must show that there is a reasonable
       probability that, but for counsel’s errors, he would . . . have pleaded [not]
       guilty and would . . . have insisted on going to trial.” Hill, 474 U.S. at 59,
       106 S.Ct. at 370.

Coulter v. Herring, 60 F.3d 1499, 1504 (11th Cir. 1995) (footnote, brackets and ellipses

added), cert. denied sub nom. Coulter v. Jones, 516 U.S. 1122, 116 S.Ct. 934, 133 L.Ed.2d 860

(1996). Indeed, in the guilty-plea context, the Eleventh Circuit has held that “’counsel

owes a lesser duty to a client who pleads guilty than to one who decides to go to trial,

and in the former case counsel need only provide his client with an understanding of the

law in relation to the facts, so that the accused may make an informed and conscious

choice between accepting the prosecution’s offer and going to trial.’” Carter v. United

States, 288 Fed.Appx. 648, 649 (11th Cir. Aug. 4, 2008),14 quoting Wofford v. Wainwright,




Hagins v. United States, 267 F.3d 1202, 1205 (11th Cir. 2001) (citing Holladay v. Haley, 209 F.3d 1243
(11th Cir. 2000)), cert. denied, 537 U.S. 1022, 123 S.Ct. 545, 154 L.Ed.2d 432 (2002).
       13
              “When analyzing ineffective-assistance claims, reviewing courts must indulge a
strong presumption that counsel’s conduct fell within the wide range of reasonably professional
assistance.” Smith v. Singletary, 170 F.3d 1051, 1053 (11th Cir. 1999) (citations omitted).
       14
               “Unpublished opinions are not considered binding precedent, but they may be
cited as persuasive authority.” 11th Cir. R. 36-2.



                                             30
748 F.2d 1505, 1508 (11th Cir. 1984).15 Moreover, in   the   context   of   sentencing   following  

entry   of   a   guilty   plea   the   court   simply   considers   whether   petitioner   has   established,   in  

accordance   with   Strickland,   supra,   that   his   attorney   was   deficient   and   that   he   was  

prejudiced   by   this   deficiency   in   performance.   See,   e.g.,   Myers   v.   United   States,   2009   WL  

1505638,   *1   (W.D.   Pa.   2009)   (“In   order   for   petitioner   to   succeed   on   an   ineffective  

assistance  of  counsel  claim,  he  must  prove:  (1)  that  his  counsel  was  deficient;  and  (2)  that  

he  was  prejudiced  by  his  counsel’s  deficiency.”),  aff’d,  364  Fed.Appx.  769  (3rd  Cir.  2010),  

cert.  denied,              U.S.            ,  131  S.Ct.  1026,  178  L.Ed.2d  848  (2011).  

          When applying the Strickland standard, it is clear that courts “are free to dispose of

ineffectiveness claims on either of its two grounds.” Oats v. Singletary, 141 F.3d 1018, 1023

(11th Cir. 1998) (citation omitted), cert. denied sub nom. Oats v. Moore, 527 U.S. 1008, 119

S.Ct. 2347, 144 L.Ed.2d 243 (1999); see also Butcher v. United States, 368 F.3d 1290, 1293

(11th Cir. 2004) (“[O]nce a court decides that one of the requisite showings has not been

made it need not decide whether the other one has been.”).

          Before addressing the merits of any of petitioner’s claims of ineffective assistance

of counsel, the undersigned need reiterate that “[a] defendant who enters a plea of guilty

waives all nonjurisdictional challenges to the constitutionality of the conviction, and only

an attack on the voluntary and knowing nature of the plea can be sustained.” Wilson v.



          15
                Thus, “‘the cases in which habeas petitioners can properly prevail on the ground of
ineffective assistance of counsel are few and far between.’” Johnson, supra, 256 F.3d at 1176
(citation omitted).



                                                             31
United States, 962 F.2d 996, 997 (11th Cir. 1992) (citation omitted).16 This waiver includes

claims of ineffective assistance of counsel that do not implicate the decision to plead

guilty. Wilson, supra, at 997; see also Smith v. Estelle, 711 F.2d 677, 682 (5th Cir. 1983)

(“Smith’s guilty plea was voluntary and knowingly made, [thus] he cannot now attack

the ineffectiveness of his counsel in any respects other than as the alleged ineffectiveness

bears upon counsel’s faulty advice that coerced a guilty plea.”), cert. denied sub nom. Smith

v. McKaskle, 466 U.S. 906, 104 S.Ct. 1685, 80 L.Ed.2d 159 (1984); Williams v. United States,

2011 WL 3268308, *2 (M.D. Fla. Aug. 1, 2011) (“Williams is barred from raising a

challenge to the factual basis of his plea in a 28 U.S.C. § 2255 motion either directly or

disguised as a claim of ineffective assistance of counsel.”). As established by the record,

Perez’ guilty plea was knowingly and voluntarily entered.17 Therefore, Perez has waived


       16
                In other words, when a defendant enters a plea of guilty, as Perez did here, he
waives “all but jurisdictional claims up to the time of the plea.” Saldrriaga-Palacio v. United States,
2008 WL 686940, *3 (M.D. Fla. Mar. 12, 2008), citing Tollett v. Henderson, 411 U.S. 258, 266-267, 93
S.Ct. 1602, 36 L.Ed.2d 235 (1973).
       17
                To determine that a guilty plea is knowing and voluntary, a district court must
comply with Rule 11 and address its three core concerns: “ensuring that a defendant (1) enters his
guilty plea free from coercion, (2) understands the nature of the charges, and (3) understands the
consequences of his plea.” United States v. Moriarty, 429 F.3d 1012, 1019 (11th Cir. 2005) (citation
omitted). As set out in the lengthy findings of fact, the Court confirmed during the Rule 11
colloquy that the plea was free from coercion, and that Perez understood the nature of the charges
and the consequences of his plea. Petitioner’s representations during the plea proceeding, along
with those of his lawyer and the prosecutor, and the findings by the Court when accepting the
plea, “constitute a formidable barrier in any subsequent collateral proceedings.” Blackledge v.
Allison, 431 U.S. 63, 73-74, 97 S.Ct. 1621, 1629, 52 L.Ed.2d 136 (1977); see also Thompson v.
Wainwright, 787 F.2d 1447, 1460 (11th Cir. 1986) (“‘[T]he representations of the defendant [at a
plea hearing] as well as any findings made by the judge accepting the plea, constitute a
formidable barrier in any subsequent collateral proceedings.’”), cert. denied sub nom. Thompson v.
Dugger, 481 U.S. 1042, 107 S.Ct. 1986, 95 L.Ed.2d 825 (1987). Indeed, “[t]here is a strong
presumption that the statements made during the [plea] colloquy are true[,]” United States v.
Medlock, 12 F.3d 185, 187 (11th Cir.), cert. denied, 513 U.S. 864, 115 S.Ct. 180, 130 L.Ed.2d 115 (1994),
and, consequently, a defendant bears a “heavy burden” to show that his statements under oath
were false, United States v. Rogers, 848 F.2d 166, 168 (11th Cir. 1988) (citation omitted). In this case,
there can be no doubt but that Perez’ plea of guilty is in fact lawful in that it was entered in
accordance with applicable constitutional principles. Stated differently, this Court correctly
(Continued)

                                               32
determined that Perez’ guilty plea was made knowingly, intelligently, and voluntarily and that
his plea was supported by an independent basis in fact of the essential elements of the offenses.

         Not surprisingly, therefore, the Court should reject petitioner’s post-motion
“supplemental” argument that counsel erred in failing to object to the court’s violation of Rule
11(c)-(f) during his guilty plea proceeding. (See Doc. 425, at 2-6.) At the outset, the undersigned
notes that Federal Rule of Criminal Procedure 11(c) outlines the plea agreement procedure and
since there was no plea agreement in this case, the Court obviously could not have violated this
paragraph of Rule 11 and counsel was without a basis to make any objection thereto. Moreover,
Perez nowhere directly explains how the Court violated paragraphs (d) (withdrawing a guilty
plea), (e) (finality of guilty plea), or (f) (admissibility or inadmissibility of a plea, plea discussions,
and related statements) and, therefore, has no basis to suggest that counsel was deficient in failing
to object on these specific bases. Looking more closely at petitioner’s argument in this regard, he
appears to be arguing that the Court failed to advise him of certain constitutional rights he was
waiving by entering his plea, including the right to a jury trial, the right to counsel, the right to
question government witnesses, the right to present evidence on his own behalf, and the
protection against self-incrimination. (See Doc. 425, at 2.) However, this statement is patently false
as during the course of the guilty plea colloquy, the following occurred:

                THE COURT: Do you understand that you have a right to plead not
        guilty to any offense charged against you and to persist in that plea and
        that you would then have the right to a trial by jury, at that trial you would
        be presumed to be innocent and the government would have to prove your
        guilt beyond a reasonable doubt, you would have the right to the assistance
        of counsel for your defense, the right to see and hear all of the witnesses
        and have them cross-examined in your defense, the right on your own part
        to decline to testify unless you voluntarily elected to do so in your own
        defense, and the right to the issuance of subpoenas to compel the
        attendance of witnesses to testify in your defense? Do you understand that?

                THE DEFENDANT:                  Yes.

               THE COURT: And do you also understand that if you went to trial
        and decided not to testify or to put on any evidence at all, those facts could
        not be used against you?

                THE DEFENDANT:                  Yes.

                THE COURT: And do you further understand that by entering a
        plea of guilty, if that plea is accepted by the Court, there will be no trial and
        you will have waived or given up your right to a trial as well as those other
        rights associated with a trial that I’ve just described?

                THE DEFENDANT:                  Yes.

(Doc. 172, at 9.) Accordingly, counsel had nothing to object to in this regard and was not deficient
for failing to assert a patently frivolous objection.



                                                33
all claims of ineffective assistance of counsel raised in his § 2255 motion that do not

implicate the validity of the plea itself, Wilson, supra, namely that counsel was ineffective

in failing to attack the indictment for failure to state an offense18 and counsel’s failure to



       18
                 Even if this claim of ineffective assistance of counsel has not been waived,
petitioner cannot prevail because he can establish neither Strickland prong. Looking more closely
at this claim, it is clear the Perez contends that counsel should have challenged Counts 11 and 12
for failing to state offenses because those counts merely stated he possessed certain amounts of
methamphetamine on certain days but failed to alleged that he possessed those amounts “with
intent to distribute.” (See Doc. 422, Attachment, at 6-7; compare id. with Doc. 1, at 5.) Although
Counts 11 and 12 of the indictment did not include the foregoing highlighter words, both counts
specifically referenced 21 U.S.C. § 841(a)(1) (Doc. 1, at 5), which provides that “it shall be
unlawful for any person knowingly or intentionally [] to manufacture, distribute, or dispense or
possess with intent to manufacture, distribute, or dispense, a controlled substance[.]” It is well
established in the Eleventh Circuit that “when the indictment specifically refers to the statute on
which the charge was based, the statutory language may be used to determine whether the
defendant received adequate notice.” United States v. Chilcote, 724 F.2d 1498, 1505 (11th Cir.)
(citations omitted), cert. denied, 467 U.S. 1218, 104 S.Ct. 2665, 81 L.Ed.2d 370 (1984); see also United
States v. Pena, 684 F.3d 1137, 1147 (11th Cir. 2012) (“‘If an indictment specifically refers to the
statute on which the charge was based, the reference to statutory language adequately informs
the defendant of the charge.’”), cert. denied, 2013 WL 57151 (Jan. 7, 2013). In this case, the
indictment’s explicit reference in Counts 11 and 12 to §841(a)(1) put Perez on notice of all the
elements of the possession with intent to distribute offense, including the “intent to distribute”
requirement, see United States v. McGarity, 669 F.3d 1218, 1237 (11th Cir. 2012) (“The fact that
Count One does not specifically state that the defendants acted ‘in concert with three or more
persons’ does not render the indictment insufficient; the indictment’s explicit reference to §
2252A(g) put the defendants on notice as to all of the elements of the CEE offense, including the
‘in concert’ requirement.”), particularly when this requirement can be inferred from Count One of
the indictment—which petitioner admits constitutionally informed him of the offense charged
(Doc. 422, Attachment, at 5 (“Petitioner contends that Count One which charged him with
‘Conspiracy to possess with intent to distribute Methamphetamine’, in violation of Title 21 U.S.C.
§ 841(a)(1), 846, and 18 U.S.C. § 2, clearly and constitutionally stated and informed Petitioner of
the charge under § 841(a)(1), 846, because as the count (charge) reads, the offense was (§841(a)(1))
‘Possess with intent to distribute.’”))—charging him with conspiracy to possess with intent to
distribute methamphetamine, see Pena, supra, at 1148 n.8 (“[W]e hold that where, as here, the
sufficiency of the indictment is raised for the first time on appeal, the court can consider the
content of other counts of the indictment in order to give context to the challenged count so long
as the defendant fails to show actual prejudice resulting from the indictment’s failure to expressly
incorporate other paragraphs into the challenged count.”). Based on the contents of Count One,
plaintiff knew he was pleading guilty to possessing with intent to distribute 7 grams of
methamphetamine on July 9, 2009, and another 7.1 grams of methamphetamine on July 23, 2009,
in violation of 21 U.S.C. § 841(a)(1). Accordingly, petitioner’s attorney was simply not
unconstitutionally deficient in failing to interpose an objection to Counts 11 and 12 of the
indictment.

(Continued)

                                              34
object to the Court’s constructive amendment of the indictment during the guilty plea

and sentencing proceedings (see Doc. 425, at 6-9).19

       Petitioner’s final two arguments relate to his appointed attorney’s performance

during the sentencing hearing. See Wilson, supra, 962 F.2d at 997 (“A defendant has a

constitutional right to effective assistance of counsel at sentencing.”). Perez contends that

counsel erred in failing to “object” to the inconsistencies in the Wilsons’ testimony with

regard to his knowledge of the guns in the Wilsons’ residence, as well as the “relation” of

petitioner to those guns (Doc. 422, Attached Memorandum, at 10-19), and also contends

that counsel erred in failing to object to the Court’s three-level-enhancement for his role

as a manager/supervisor (see id. at 19-23). These ineffective assistance of counsel claims

simply have no merit. As is apparent from a perusal of the Eleventh Circuit’s

unpublished memorandum opinion, Perez was unable to persuade that court that the

evidence failed to support sentence enhancements for gun possession by a co-conspirator

and for his role as a manager or supervisor in the offense. (Doc. 408, at 2-5.)

Consequently, Perez simply cannot establish that his counsel’s alleged failure to “object”


       Additionally, petitioner cannot establish that he was prejudiced by counsel’s failure in this
regard given his admission that Count One of the indictment sufficiently apprised him of an
offense and the fact that his sentences as to Counts 11 and 12 were made to run concurrent with
his Count One sentence.
       19
               It is petitioner’s argument that counsel should have objected when the Court
“constructively amended” the indictment during the guilty plea and sentencing proceedings by
stating that Counts 11 and 12 charged him with possessing “with intent to distribute” certain
amounts of methamphetamine. (Compare Doc. 425, at 6-9 with Doc. 172, at 12.) The previous
analysis applies equally to this argument and establishes that counsel was not deficient in any
manner for failing to object as petitioner suggests. In other words, the undersigned’s previous
determination that Counts 11 and 12 of indictment sufficiently notified Perez that he was being
charged in these two counts with possessing with intent to distribute methamphetamine
forecloses any argument that counsel should have objected to the Court “constructively
amending” these two counts of the indictment.



                                            35
to inconsistencies in the Wilsons’ testimony20 or to the three-level-enhancement for his

role as a manager/supervisor21 fell below an objective standard of reasonableness and

prejudiced his case.22


        20
                The undersigned would simply note that petitioner’s attorney argued that the gun
enhancement should not be applied to Perez and in making that argument counsel specifically
pointed to Tammy Wilson’s testimony that she and her husband were not fearful of petitioner,
that her husband was the owner of the guns and according to Steve Wilson, the guns were
purchased for their “coyote” problem, nothing else. (Doc. 312, at 30; see also id. (“I think that
speaks for itself.”).) Accordingly, Stankoski specifically argued at sentencing—contrary to how
petitioner now attempts to cast that argument (see Doc. 422, Attachment, at 14-17)—that there was
no connection between the drugs and the guns since the guns were kept only to address a “coyote
problem.” Moreover, Stankoski cross-examined Tammy Wilson at length to try to cast doubt on
her testimony that Perez had seen the guns at their residence during the course of supplying them
with methamphetamine. (See id. at 15-22.) The bottom line is that petitioner’s attorney “objected”
to application of the two-level-enhancement for gun possession by a co-conspirator and,
therefore, this Court should eschew Perez’ attempt to confuse the issue by arguing that his
attorney failed to “object” to inconsistencies in testimony given at the sentencing hearing.
        21
                  Petitioner contends that the Court stated the factors applicable based on the role of
“organizer/leader” but then applied the “manager/supervisor” role to petitioner without
objection from his attorney. (See Doc. 422, Attachment, at 19-23.) At the outset, the undersigned
notes that the “factors” identified by the Court do not simply relate to the “organizer/leader” role
(compare Doc. 312, at 31 (“I will tell you the factors that I am considering. And the[y] are the
exercise of decision making authority, the nature of the participation in the commission of the
offense, the recruitment of accomplices, the claimed right to a larger share of the fruits of the
crime, the degree of participation in planning or organizing the offense and the nature and scope
of the illegal activity and the degree of control and authority . . . exercised over others. Those are
the factors to be considered in determining if he should get an aggravating role or a mitigation
role or if he is an average participant.” (emphasis supplied)) with U.S.S.G. § 3B1.1, Commentary,
n.4 (“In distinguishing a leadership and organizational role from one of mere management or supervision,
titles such as ‘kingpin’ or ‘boss’ are not controlling. Factors the court should consider include the exercise of
decision making authority, the nature of participation in the commission of the offense, the recruitment of
accomplices, the claimed right to a larger share of the fruits of the crime, the degree of participation in
planning or organizing the offense, the nature and scope of the illegal activity, and the degree of control and
authority exercised over others.” (emphasis in original)). Moreover, what petitioner neglects to point
out is that the government sought a four-level-enhancement based on petitioner’s role as an
“organizer/leader” (see Doc. 312, at 2; compare id. with Doc. 234, at 23 (“Pursuant to U.S.S.G. §
3B1.1(a), since the defendant was an organizer or leader of a criminal activity that involved five or
more participants, or was otherwise extensive, the offense is increased four levels.”)), to which his
attorney interposed written objection (Doc. 238 (characterizing petitioner as merely a supplier)),
and that after the Court specifically determined the “organizer/leader” role did not apply but
that the “manager/supervisor” role did apply (Doc. 312, at 37), Stankoski steadfastly maintained
on appeal—as he did during the sentencing hearing (see Doc. 312, at 34-35 (“I am going
specifically under the commentary is when looking at those four things: The nature of the
participation, I think we have covered that; the recruitment of accomplices; the only thing that has
(Continued)

                                                  36
       In consideration of the foregoing, the Magistrate Judge recommends that the Court

deny Perez’ motion to vacate, set aside or correct his sentence under 28 U.S.C. § 2255.

Petitioner is not entitled to an evidentiary hearing in this case because his allegations are

either affirmatively contradicted by the record or, otherwise, even taking the facts he

states as true, same would not entitle him to relief. Aron v. United States, 291 F.3d 708, 714-

715 (11th Cir. 2002) (“[I]f the petitioner ‘alleges facts that, if true, would entitle him to

relief, then the district court should order an evidentiary hearing and rule on the merits of

his claim.’ . . . Although we have stated that a district court is not required to hold an

evidentiary hearing where the petitioner’s allegations are affirmatively contradicted by

the record, or the claims are patently frivolous, no such circumstances are present here.”

(internal citations omitted)); see also United States v. Bejacmar, 217 Fed.Appx. 919, 921 (11th

Cir. Feb. 15, 2007) (“[I]f the petitioner’s allegations are affirmatively contradicted by the




been testified to is by Ms. Wilson, coconspirator, saying some guy in an SUV that was nicely
painted, and Ms. Lopez. Ms. Lopez was charged as a coconspirator and I believe she ple[]d to a
misprision offense and the conspiracy was dropped. No testimony to a claim of any larger share
and no proof of any extra participation by him in being an[] organizer or leader. He is simply a
supplier and ple[]d guilty to that. And there should not be an enhancement.” (emphasis
supplied))—that petitioner’s sentence should not have been enhanced in accordance with U.S.S.G.
§ 3B1.1(b) (Doc. 408, at 4-5). Accordingly, petitioner’s arguments as they relate to counsel’s
“objections” to application of the U.S.S.G. § 3B1.1(b) enhancement are utterly specious.
       22
                Perez’ ineffective assistance of counsel claim, as it relates to the “Odelle”
information also lacks any merit. Petitioner cannot even establish that Stankoski was deficient for
failing to use this information at his sentencing hearing, presuming for the sake of argument that
counsel knew about it, as he has cited to no authority establishing that such information would
have precluded this Court from determining that he was a manager/supervisor for purposes of
applying the U.S.S.G. § 3B1.1(b) three-level enhancement. In other words, petitioner has not
explained how “Odelle” supplying the Wilsons with narcotics would necessarily foreclose the
ability of this Court to find that he played the role of manager/supervisor with respect to the
methamphetamine conspiracy alleged in the indictment, it being Tammy Wilson’s testimony that
Perez was the only person who supplied her husband and her with “methamphetamine.” (Doc.
312, at 21.) Accordingly, petitioner’s conclusory “Odelle” claim has no merit.



                                            37
record, or the claims are patently frivolous, a district court is not required to hold an

evidentiary hearing.”); see Tejada   v.   Dugger,   941   F.2d   1551,   1559   (11th   Cir.   1991)   (“A  

petitioner   is   not   entitled   to   an   evidentiary   hearing   .   .   .   when   his   claims   are   merely  

conclusory   allegations   unsupported   by   specifics   or   contentions   that   in   the   face   of   the  

record   are   wholly   incredible.”   (internal   quotation   marks   omitted)),   cert.   denied   sub   nom.  

Tejada  v.  Singletary,  502  U.S.  1105,  112  S.Ct.  1199,  117  L.Ed.2d  439  (1992);  cf.  Lynn  v.  United  

States,   365   F.3d   1225,   1239   (11th   Cir.)   (“Because   the   1999   affidavits   submitted   by   Lynn  

amount   to   nothing   more   than   mere   conclusory   allegations,   the   district   court   was   not  

required  to  hold  an  evidentiary  hearing  on  the  issues  and  correctly  denied  Lynn’s  §  2255  

motion.”),  cert.  denied,  543  U.S.  891,  125  S.Ct.  167,  160  L.Ed.2d  154  (2004).

        Pursuant to Rule 11(a) of the Rules Governing § 2255 Proceedings, the

undersigned recommends that a certificate of appealability in this case be denied. 28

U.S.C. foll. § 2255, Rule 11(a) (“The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.”). The habeas corpus

statute makes clear that an applicant is entitled to appeal a district court’s denial of his

habeas corpus petition only where a circuit justice or judge issues a certificate of

appealability. 28 U.S.C. § 2253(c)(1). A certificate of appealability may issue only where

“the applicant has made a substantial showing of the denial of a constitutional right.” 28

U.S.C. § 2243(c)(2).        Where, as here, a habeas petition is being denied                        in part, on

procedural grounds without reaching the merits of an underlying constitutional claim, “a

COA should issue [only] when the prisoner shows . . . that jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional right

                                                    38
and that jurists of reason would find it debatable whether the district court was correct in

its procedural ruling[,]” Slack v. McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595, 1604, 146

L.Ed.2d 542 (2000), and, in part, on the merits of underlying constitutional claims, a COA

should issue only when the petitioner demonstrates “that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or wrong[,]” id.; see

also id. at 483-484, 120 S.Ct. at 1603-1604 (“To obtain a COA under § 2253(c), a habeas

prisoner must make a substantial showing of the denial of a constitutional right, a

demonstration that, under Barefoot, includes showing that reasonable jurists could

debate whether (or, for that matter, agree that) the petition should have been resolved in

a different manner or that the issues presented were ‘”adequate to deserve

encouragement to proceed further.”’”); see Miller-El v. Cockrell, 537 U.S. 322, 336, 123 S.Ct.

1029, 1039, 154 L.Ed.2d 931 (2003) (“Under the controlling standard, a petitioner must

‘sho[w] that reasonable jurists could debate whether (or, for that matter, agree that) the

petition should have been resolved in a different manner or that the issues presented

were “adequate to deserve encouragement to proceed further.”’”). Inasmuch as it is

clearly established that entry of a guilty plea waives all non-jurisdictional challenges to a

conviction’s constitutionality, McMann v. Richardson, supra, including claims of ineffective

assistance of counsel that do not implicate the decision to plead guilty, Wilson, supra, a

reasonable jurist could not conclude that this Court is in error for failing to reach the

merits of petitioner’s pre-plea ineffective-assistance-of-counsel claims, nor could a

reasonable jurist conclude that petitioner should be allowed to proceed further with

respect to these claims. Slack, supra, 529 U.S. at 484, 120 S.Ct. at 1604 (“Where a plain

procedural bar is present and the district court is correct to invoke it to dispose of the



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case, a reasonable jurist could not conclude either that the district court erred in

dismissing the petition or that the petitioner should be allowed to proceed further.”).

Moreover, with respect to all (other) ineffective-assistance-of-counsel claims raised by

petitioner the undersigned recommends that the Court find that reasonable jurists could

not debate whether Perez’ §  2255 motion to vacate should be resolved in a different

manner or that any of the remaining issues presented are adequate to deserve

encouragement to proceed further. Accordingly, petitioner is not entitled to a certificate

of appealability.

         Rule 11(a) further provides: “Before entering the final order, the court may direct

the parties to submit arguments on whether a certificate should issue.” If there is an

objection to this recommendation by either party, that party may bring this argument to

the attention of the district judge in the objections permitted to this report and

recommendation. Brightwell v. Patterson, CA 11-0165-WS-C, Doc. 14 (Eleventh Circuit

order denying petitioner’s motions for a COA and to appeal IFP in a case in which this

Court set out the foregoing procedure); see also Castrejon v. United States, 2011 WL

3241817, *20 (S.D. Ala. June 28, 2011) (providing for the same procedure), report &

recommendation adopted, 2011 WL 3241580 (S.D. Ala. July 29, 2011); Griffin v. DeRosa, 2010

WL 3943702, at *4 (N.D. Fla. Sept. 20, 2010) (providing for same procedure), report &

recommendation adopted sub nom. Griffin v. Butterworth, 2010 WL 3943699 (N.D.Fla. Oct. 5,

2010).

                                      CONCLUSION

         The Magistrate Judge is of the opinion that petitioner’s rights were not violated in

this cause and that his request to vacate, set aside or correct his sentence (Doc. 422; see also



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Doc. 425) should be DENIED. Petitioner is not entitled to a certificate of appealability

and, therefore, he is not entitled to appeal in forma pauperis.

         The instructions which follow the undersigned’s signature contain important

information regarding objections to the report and recommendation of the Magistrate

Judge.

         DONE this the 29th day of January, 2013.

                              s/WILLIAM E. CASSADY
                             UNITED STATES MAGISTRATE JUDGE




                                           41
        MAGISTRATE JUDGE'S EXPLANATION OF PROCEDURAL RIGHTS AND
           RESPONSIBILITIES FOLLOWING RECOMMENDATION, AND
               FINDINGS CONCERNING NEED FOR TRANSCRIPT

l.      Objection. Any party who objects to this recommendation or anything in it must, within
fourteen (14) days of the date of service of this document, file specific written objections with
the Clerk of this court. Failure to do so will bar a de novo determination by the district judge of
anything in the recommendation and will bar an attack, on appeal, of the factual findings of the
Magistrate Judge. See 28 U.S.C. § 636(b)(1)(C); Lewis v. Smith, 855 F.2d 736, 738 (11th Cir. 1988);
Nettles v. Wainwright, 677 F.2d 404 (5th Cir. Unit B, 1982)(en banc). The procedure for challenging
the findings and recommendations of the Magistrate Judge is set out in more detail in SD ALA
LR 72.4 (June 1, 1997), which provides that:

       A party may object to a recommendation entered by a magistrate judge in a
       dispositive matter, that is, a matter excepted by 28 U.S.C. § 636(b)(1)(A), by filing
       a ‘Statement of Objection to Magistrate Judge’s Recommendation’ within ten
       days23 after being served with a copy of the recommendation, unless a different
       time is established by order. The statement of objection shall specify those
       portions of the recommendation to which objection is made and the basis for the
       objection. The objecting party shall submit to the district judge, at the time of
       filing the objection, a brief setting forth the party’s arguments that the magistrate
       judge’s recommendation should be reviewed de novo and a different disposition
       made. It is insufficient to submit only a copy of the original brief submitted to
       the magistrate judge, although a copy of the original brief may be submitted or
       referred to and incorporated into the brief in support of the objection. Failure to
       submit a brief in support of the objection may be deemed an abandonment of the
       objection.

        A magistrate judge's recommendation cannot be appealed to a Court of Appeals; only
the district judge's order or judgment can be appealed.

2.      Transcript (applicable Where Proceedings Tape Recorded). Pursuant to 28 U.S.C. § 1915 and
FED.R.CIV.P. 72(b), the Magistrate Judge finds that the tapes and original records in this case
are adequate for purposes of review. Any party planning to object to this recommendation, but
unable to pay the fee for a transcript, is advised that a judicial determination that transcription
is necessary is required before the United States will pay the cost of the transcript.




       23
              Effective December 1, 2009, the time for filing written objections was extended to
“14 days after being served with a copy of the recommended disposition[.]” Fed.R.Civ.P.
72(b)(2).




                                                42
